          Case 18-20971-CMB      Doc 222    Filed 10/30/20 MEMO
                                            PROCEEDING      Entered 10/30/20 08:18:30        Desc Main
                                           Document     Page 1 of 1

Date: 10/29/2020 02:00 pm
 In re:   Linda C. Parker


                                                      Bankruptcy No. 18-20971-CMB
                                                      Chapter: 11 (Not a Small Business)
                                                      Doc. # 205

Appearances Via ZOOM: David Valencik, Esq.; Brian Nicholas, Esq; Jill Locnikar, Esq.

Nature of Proceeding: #205 ZOOM HEARING - Rescheduled Hearing Re: Motion For
                    Relief From The Automatic Stay (Creditor: PNC Bank,
                    National Association Re: 626 James Drive, Belle Vernon, PA 15012)

Additional Pleadings: #206 Notice of Hearing
                     #208 Debtor's Response
                        #213 Order Rescheduling Hearing to Take Place by Zoom
                         #218 Proceeding Memo dated 9/21/2020


Judge's Notes:
 ͲValencik:PaymentswithPNCnotresolved.Debtorisbehind3paymentsaccordingtoPNC.Debtoris
 workingtobecurrentandbelievescanbecurrentin30days.
 ͲNicholas:Suggestadropdeadorder.
 OUTCOME:Continuedto12/17at2:30pm.Debtormustbesubstantiallycurrentorwillgrantreliefonthat
 date.Debtorhasbeengivenalotoftimeandextensions.


                                                       Carlota Böhm
                                                       Chief U.S. Bankruptcy Judge
                   FILED
                   10/30/20 8:16 am
                   CLERK
                   U.S. BANKRUPTCY
                   COURT - :'3$
